           Case 3:12-cr-02431-AJB                     Document 50                  Filed 09/20/12             PageID.130             Page 1 of 2

                                                                                                                                   FILED
     ~AO 245B (CASD) (Rev. 1/12)    Judgment in a Criminal Case
                Sheet I                                                                                                              SEP 20 2012
                                                                                                                             CLERK. u.s. t";:'TRICT COURT
                                                                                                                         80UTHIRH DISTRICT Of CALIFORNIA
                                              UNITED STATES DISTRICT COURT BY                                                                              DEPUTY
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                        v.                                             (For Offenses Committed On or After November I, 1987)

               JOSE MANUEL GOMEZ-GONZALEZ (02)                                         Case Number: 12CR2431-AJB-02
                                                                                       Bridget Kennedy FD
                                                                                       Defendant's Attorney
     REGISTRATION NO. 59212198

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) _T_w_o_o_f_th_e_In_fi_ormatl_·o_n_
                                                          __           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o     was found guilty on count{s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature ofOffense                                                                               Number(s)
8 USC 1324(a)(1)(A)(i)                 Bringing in Illegal Aliens                                                                               2




        The defendant is sentenced as provided in pages 2 through                  2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)
                            ---------------------------------
 O Count(s)__________________________ is 0 are 0 dismissed on the motion ofthe United States.

 181 Assessment: $100.00 - Waived

  181 Fine waived                                   o Forfeiture pursuant to order filed ----------- , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change ofname, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               S       tember 14, 2012




                                                                                                                                            12CR2431-AJB-02
     Case 3:12-cr-02431-AJB                     Document 50        Filed 09/20/12        PageID.131           Page 2 of 2


AO 2458 (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment -- Page _..;;2_ of      2
 DEFENDANT: JOSE MANUEL GOMEZ-GONZALEZ (02)
 CASE NUMBER: 12CR2431-AJB-02
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         SIX (6) MONTHS



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before -------------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at ____________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                   By ______~~~~==~__=~~~---------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                 12CR2431-AJB-02
